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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS gesury expe EE
DALLAS DIVISION

   

 

UNITED STATES OF AMERICA

NO. 3:19-CR- 318

SANJAY NANDA (01) § LOCR-3i8-¥

WAIVER OF INDICTMENT
Sanjay Nanda, the defendant, has been informed that a one-count felony
information has been filed which accuses the defendant of committing a violation of 18
U.S.C. § 1343, that is, Wire Fraud.
The defendant, being advised of the nature of the above charge(s) and the
proposed felony information, understands the following:
1. The defendant has the right to have the defendant’s case presented to a
Federal Grand Jury;
2. The Grand Jury must consist of citizens of the Northern District of Texas,
and the Grand Jury must consist of not more than 23 nor less than 16
citizens, 12 of whom must vote in favor of an indictment before such an

indictment is returned or “true billed”;

 

Waiver of Indictment - Page 1

 
 

 

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3. In order to return a “true bill” of indictment, the Grand Jury must find from
the evidence presented, that there is probable cause to believe that a federal
offense has been committed and that the defendant committed that federal
offense;

4. The defendant may waive or give up the defendant’s clear legal right to have
the defendant’s case presented to the Grand Jury; and

5. The defendant has discussed the right to waive or give up having the
defendant’s case presented to the Grand Jury with the defendant’s lawyer, and
the defendant’s lawyer has fully explained the consequences of waiving this
legal right.

After consultation with counsel, the defendant hereby voluntarily, knowingly, and

intelligently waives now and agrees to later waive in open court the defendant’s legal right
to have the defendant’s case presented to a Federal Grand Jury and consents that the

prosecution may proceed by information rather than by indictment.

 

Signed this the /__ day of , 2019.

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SANJAY NANDA RO _ SMIT

Defendant Attorney for Defendant
